Case 1:13-mc-01288-RCL Document 324-4 Filed 07/14/23 Page 1 of 19




             EXHIBIT D
       Case
     Case    1:13-mc-01288-RCL Document
          1:13-mc-01288-RCL     Document324-4
                                         230 Filed
                                              Filed10/18/22
                                                    07/14/23Page 1 of2 18
                                                              Page     of 19



                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

  BERKLEY INSURANCE CO., et al.,

                        Plaintiffs,                 Case No. 1:13-cv-1053-RCL

                v.

  THE FEDERAL HOUSING FINANCE
  AGENCY, et al.,

                        Defendants.

  IN RE FANNIE MAE/FREDDIE MAC
  SENIOR PREFERRED STOCK
  PURCHASE AGREEMENT CLASS                          Case No. 1:13-mc-1288-RCL
  ACTION LITIGATIONS
  _______________________________

  This document relates to:
  ALL CASES



                      JOINT STATEMENT OF UNDISPUTED FACTS

        The parties to the above-captioned actions hereby agree and stipulate to the following

statement of undisputed facts, which may be accepted as true by the Court and the fact-finder, and

as to which no further proof is necessary:

        1.     Congress created Fannie Mae in 1938 and Freddie Mac (together, the

“Enterprises”) in 1970 to support the Nation’s home mortgage system by increasing the funds

available to lend to borrowers and thus increasing home ownership.

        2.     The Enterprises purchase mortgages, some of which the Enterprises pool into

mortgage-backed securities. The Enterprises guarantee the payment of principal and interest to

investors who buy those mortgage-backed securities. By creating this secondary mortgage market,




                                                1




                                      PX-0593 - p. 1 of 18
       Case
     Case    1:13-mc-01288-RCL Document
          1:13-mc-01288-RCL     Document324-4
                                         230 Filed
                                              Filed10/18/22
                                                    07/14/23Page 2 of3 18
                                                              Page     of 19



the Enterprises increase liquidity for private banks, which enables them to make additional loans to

individuals for home purchases.

        3.      By 2007, Fannie Mae’s and Freddie Mac’s mortgage portfolios had a combined

value of approximately $5 trillion and they owned almost half of the Nation’s existing mortgages.

        4.      The Enterprises have issued common stock and numerous series of non-cumulative

preferred stock (the “Preferred Stock”), all of which are publicly traded.

        5.      Of the Fannie Mae Preferred Stock currently outstanding, the earliest series was

issued in September 1998 (Fannie Mae, Series D (FDDXD)), and the latest series was issued in

May 2008 (Fannie Mae, Series T (FNMAT)). The funds raised by Fannie Mae by issuing Preferred

Shares from September 1998 to May 2008 are as follows:

                                                                    Proceeds
                Issuance Series        Date of Issuance
                                                               (in millions of USD)
                    FDDXD             September 30, 1998                $150
                    FNMFM               April 15, 1999                  $150
                    FNMAP               March 20, 2000                  $690
                    FNMAO               August 8, 2000                  $288
                    FNMAM                April 6, 2001                  $400

                    FNMAG              October 28, 2002                 $300

                    FNMAN               April 29, 2003                  $345
                    FNMAL                June 10, 2003                  $460
                    FNMAK             September 25, 2003                $225
                    FNMFN             December 30, 2004                $2,500
                    FNMFO             December 30, 2004                $2,492
                    FNMAH             September 28, 2007               $1,000
                    FNMAI               October 4, 2007                 $375
                    FNMAJ             November 21, 2007                 $530


                                                  2




                                      PX-0593 - p. 2 of 18
       Case
     Case    1:13-mc-01288-RCL Document
          1:13-mc-01288-RCL     Document324-4
                                         230 Filed
                                              Filed10/18/22
                                                    07/14/23Page 3 of4 18
                                                              Page     of 19




                   FNMAS             December 11, 2007               $7,000
                   FNMAT                May 19, 2008                 $2,225
                   TOTAL                                            $19,130


        6.     Of the Freddie Mac Preferred Stock currently outstanding, the earliest series was

issued in April 1996 (Freddie Mac, Series I (FMCCI)), and the latest series was issued in December

2007 (Freddie Mac, Series KJ (FMCKJ)). The funds raised by Freddie Mac by issuing Junior

Preferred Shares from April 1996 to December 2007 are as follows:

                                                                  Proceeds
               Issuance Series       Date of Issuance
                                                             (in millions of USD)
                   FMCCI              April 23, 1996                  $250
                   FREGP             October 27, 1997                 $150
                  FMCKK               March 23, 1998                  $400

                  FMCCG             September 23, 1998                $220

                  FMCCH             September 23, 1998                $400
                   FREJP             October 28, 1998                 $200
                   FREJO              March 19, 1999                  $150
                  FMCCK                July 21, 1999                  $250
                  FMCCL             November 5, 1999                  $287
                  FMCCM              January 26, 2001                 $325
                  FMCCN               March 23, 2001                  $230
                  FMCCO               March 23, 2001                  $173
                   FMCCP               May 30, 2001                   $173
                   FMCCJ               May 30, 2001                   $201
                  FMCKP              October 30, 2001                 $300
                   FREJN             January 29, 2002                 $300
                   FMCCS               July 17, 2006                  $750

                                                3




                                     PX-0593 - p. 3 of 18
       Case
     Case    1:13-mc-01288-RCL Document
          1:13-mc-01288-RCL     Document324-4
                                         230 Filed
                                              Filed10/18/22
                                                    07/14/23Page 4 of5 18
                                                              Page     of 19




                   FMCCT                July 17, 2006                    $250
                   FMCKO              October 16, 2006                   $500
                   FMCKM              January 16, 2007                  $1,100
                   FMCKN                April 16, 2007                   $500
                   FMCKL                July 24, 2007                    $500
                   FMCKI             September 28, 2007                  $500
                   FMCKJ              December 4, 2007                  $6,000
                   TOTAL                                               $14,109


        7.      Each of the series of shares, which Plaintiffs hold and are at issue in this case – all

of the Junior Preferred Shares issued by both of the Enterprises and the common shares issued by

Freddie Mac – are governed by documents called “Certificates of Designation.” Each of these

Certificates of Designation entitle the stockholders to the payment of dividends if declared by the

Boards of the respective Enterprises. The Certificates of Designation do not require the Board of

either Enterprise to declare dividends. The Preferred Stock dividends, if declared by the

Enterprises’ board of directors, are calculated based on a percentage of the stock’s face value. If

the Board of either Enterprise declares a dividend, the Certificates of Designation establish an order

in which the dividends on the various series must be paid. All dividends must be paid to all

preferred stockholders before any dividends are paid on any common shares. The Certificates of

Designation also provide an order in which the holders of the various series of shares may share in

any distribution of assets upon liquidation of the Enterprise.

        8.      A financial crisis began in the summer of 2007. The crisis led Congress and

financial regulators to enact multiple, systemic reforms. One of those reforms was the enactment

of a federal law called the Housing and Recovery Act of 2008 (“HERA”) in July 2008, which



                                                  4




                                       PX-0593 - p. 4 of 18
       Case
     Case    1:13-mc-01288-RCL Document
          1:13-mc-01288-RCL     Document324-4
                                         230 Filed
                                              Filed10/18/22
                                                    07/14/23Page 5 of6 18
                                                              Page     of 19



addressed the concern that Fannie Mae’s and Freddie Mac’s financial condition would imperil the

national economy.

        9.      HERA established the Federal Housing Finance Agency (“FHFA”) and made it

responsible for, among other things, “the effective supervision, regulation, and housing mission

oversight” of the Enterprises. HERA empowered the Director of FHFA to place the Enterprises into

conservatorship or receivership under certain circumstances.

        10.     HERA also amended the charters of the Enterprises by granting Treasury temporary

authority to fund the Enterprises by purchasing Enterprise stock.

        11.     On September 6, 2008, FHFA’s Director appointed FHFA as conservator of both

Fannie Mae and Freddie Mac. The Boards of Directors of Fannie Mae and Freddie Mac each

consented, by resolution, to the appointment of FHFA as conservator pursuant to HERA.

        12.     On September 7, 2008, FHFA, acting as conservator of Fannie Mae and Freddie

Mac, entered each Enterprise into a Senior Preferred Stock Purchase Agreement with the U.S.

Department of the Treasury (“Treasury”) (collectively, the “PSPAs”).

        13.     In announcing the conservatorship on September 7, 2008, FHFA Director Lockhart

stated that “in order to restore the balance between safety and soundness and mission, FHFA has

placed Fannie Mae and Freddie Mac into conservatorship. That is a statutory process designed to

stabilize a troubled institution with the objective of returning the entities to normal business

operations. FHFA will act as the conservator to operate the Enterprises until they are stabilized.”

        14.     When the conservatorships were announced, FHFA’s director also told the public

that “in order to conserve over $2 billion in capital every year, the common stock and preferred

stock dividends will be eliminated, but the common and all preferred stocks will continue to remain

outstanding.”



                                                  5




                                      PX-0593 - p. 5 of 18
       Case
     Case    1:13-mc-01288-RCL Document
          1:13-mc-01288-RCL     Document324-4
                                         230 Filed
                                              Filed10/18/22
                                                    07/14/23Page 6 of7 18
                                                              Page     of 19



        15.     Other than the senior preferred stock issued to Treasury pursuant to the PSPAs, no

Preferred Stock has been issued by the Enterprises since the conservatorships began in September

2008.

        16.     Except for dividends paid to Treasury on its Senior Preferred Stock, the Enterprises

have not declared and paid dividends on common stock or Preferred Stock during the

conservatorships.

        17.     Under the PSPAs, Treasury committed to invest up to $100 billion in each

Enterprise as needed to ensure that every quarter each Enterprise maintained a positive net worth

(the “Treasury Commitment” or “Commitment”). An Enterprise has a positive net worth if its

assets exceed its liabilities as determined by Generally Accepted Accounting Principles

(“GAAP”).

        18.     For quarters in which an Enterprise’s liabilities exceed its assets under GAAP, the

PSPAs allow the Enterprise to draw upon Treasury’s Commitment in an amount equal to the

difference between liabilities and assets.

        19.     In return for the Treasury Commitment, Treasury received one million shares in a

newly created class of non-voting stock in each Enterprise, known as Senior Preferred Stock.

        20.     The specific terms of the Senior Preferred Stock were contained in a document

called the Certificate of Designation of Terms of Variable Liquidation Preference Senior Preferred

Stock, Series 2008-2, referred to herein as the “Treasury Stock Certificate.”

        21.     The PSPAs, and their associated Treasury Stock Certificates, entitled Treasury to

the following with respect to each Enterprise: (i) a $1 billion senior liquidation preference—a

priority right above all other stockholders, whether preferred or otherwise, to receive distributions

from assets if the Enterprise was liquidated; (ii) a dollar-for-dollar increase in that liquidation



                                                  6




                                       PX-0593 - p. 6 of 18
       Case
     Case    1:13-mc-01288-RCL Document
          1:13-mc-01288-RCL     Document324-4
                                         230 Filed
                                              Filed10/18/22
                                                    07/14/23Page 7 of8 18
                                                              Page     of 19



preference each time an Enterprise drew on the Treasury Commitment; (iii) an annual cash dividend

(paid quarterly) of 10% of Treasury’s liquidation preference, or if not paid in cash, an increase of

the liquidation preference at a rate of 12% of Treasury’s liquidation preference; and (iv) warrants

allowing Treasury to purchase up to 79.9% of each Enterprise’s common stock at a price of

$0.00001 per share through September 7, 2028.

           22.    The total cost of exercising Treasury’s common stock warrants in both Fannie Mae

and Freddie Mac is less than $72,000.

           23.    The PSPAs also provided for a quarterly Periodic Commitment Fee paid by each

Enterprise to Treasury, and stated as follows:

           The Periodic Commitment Fee is intended to fully compensate Purchaser
           [Treasury] for the support provided by the ongoing Commitment following
           December 31, 2009. The amount of the Periodic Commitment Fee shall be set not
           later than December 31, 2009 with respect to the ensuing five-year period, shall be
           reset every five years thereafter and shall be determined with reference to the
           market value of the Commitment as then in effect. The amount of the Periodic
           Commitment Fee shall be mutually agreed by Purchaser and Seller [Treasury and
           each respective Enterprise, acting by and through FHFA], subject to their
           reasonable discretion and in consultation with the Chairman of the Federal Reserve;
           provided, that Purchaser [Treasury] may waive the Periodic Commitment Fee for
           up to one year at a time, in its sole discretion, based on adverse conditions in the
           United States mortgage market.

           24.    Treasury waived the Periodic Commitment Fee for 2010, 2011, and 2012. The

Enterprises have never paid any Periodic Commitment Fee to Treasury.

           25.    The PSPAs barred the Enterprises from making any other distributions to

Enterprise stockholders—including issuing dividends to shareholders—without Treasury’s

consent.

           26.    On May 6, 2009, Treasury and FHFA, acting as conservator of the Enterprises,

amended the PSPAs (the “First Amendment”). The First Amendment doubled the Treasury




                                                    7




                                        PX-0593 - p. 7 of 18
       Case
     Case    1:13-mc-01288-RCL Document
          1:13-mc-01288-RCL     Document324-4
                                         230 Filed
                                              Filed10/18/22
                                                    07/14/23Page 8 of9 18
                                                              Page     of 19



Commitment to each Enterprise, from $100 billion each ($200 billion total) to $200 billion each

($400 billion total).

         27.     On December 24, 2009, Treasury and FHFA, acting as conservator of the

Enterprises, again amended the PSPAs (the “Second Amendment”). The Second Amendment

replaced the $200,000,000,000 Treasury Commitment to each Enterprise with a new commitment

to provide as much funding as each Enterprise needed to prevent insolvency through December 31,

2012, after which time a cap on the Commitment would be reinstated and fixed pursuant to a

formula.   The Second Amendment also extended the date for Treasury to set the Periodic

Commitment Fee from December 31, 2009 to December 31, 2010.

         28.     In the first quarter of 2012, Fannie Mae recorded comprehensive income (i.e.,

earnings) of $3.1 billion, compared to a comprehensive loss of $6.3 billion in the first quarter of

2011; and Freddie Mac recorded comprehensive income of $1.8 billion, compared to a

comprehensive income of $2.7 billion in the first quarter of 2011.

         29.     In the second quarter of 2012, Fannie Mae recorded comprehensive income of $5.4

billion, compared to a comprehensive loss and net loss of $2.9 billion for the second quarter of

2011; and Freddie Mac recorded comprehensive income of $2.9 billion, compared to a

comprehensive loss of $1.1 billion for the second quarter of 2011.

         30.     From the outset of the conservatorships in 2008 through the first quarter of 2012,

there were some quarters in which the Enterprises lacked the cash necessary to pay the 10%

dividend to Treasury. On such occasions, the Enterprises drew from the Treasury Commitment in

order to pay Treasury its quarterly dividend.




                                                 8




                                      PX-0593 - p. 8 of 18
       Case
    Case    1:13-mc-01288-RCLDocument
         1:13-mc-01288-RCL    Document324-4
                                       230 Filed
                                            Filed10/18/22
                                                  07/14/23 Page
                                                            Page9 of
                                                                  1018
                                                                     of 19



        31.     When the Enterprises drew against the Treasury’s Commitment to pay Treasury

dividends, such draws increased the size of the liquidation preference, thereby increasing the size

of the Enterprises’ dividend obligation.

        32.     By August 2012, Fannie Mae’s and Freddie Mac’s annual dividend obligations on

Treasury’s senior preferred stock were $11.7 billion and $7.2 billion, respectively.

        33.     As of August 17, 2012, Fannie Mae and Freddie Mac had drawn $116.1 billion and

$71.3 billion, respectively, from the Treasury Commitment, increasing Treasury’s total liquidation

preferences to $189.4 billion ($117.1 billion for Fannie Mae and $72.3 billion for Freddie Mac).

        34.     Since September 2008, Fannie Mae has drawn on the Treasury Commitment in the

following quarterly amounts and cumulative amounts. Fannie Mae has not drawn on the Treasury

Commitment since 2018.

                                         Quarterly Draw         Cumulative Draws
                  Year (Quarter)
                                       (in millions of USD)    (in millions of USD)
                     2008 (Q4)                   -                       -
                     2009 (Q1)               $15,200                 $15,200
                     2009 (Q2)               $19,000                 $34,200
                     2009 (Q3)               $10,700                 $44,900
                     2009 (Q4)               $15,000                 $59,900
                     2010 (Q1)               $15,300                 $75,200

                     2010 (Q2)                $8,400                 $83,600

                     2010 (Q3)                $1,500                  $85,100
                     2010 (Q4)                $2,500                 $87,600
                     2011 (Q1)                $2,600                 $90,200
                     2011 (Q2)                $8,500                 $98,700
                     2011 (Q3)                $5,100                 $103,800
                     2011 (Q4)                $7,800                 $111,600

                                                  9




                                      PX-0593 - p. 9 of 18
  Case
Case    1:13-mc-01288-RCL Document
     1:13-mc-01288-RCL     Document324-4
                                    230 Filed
                                         Filed10/18/22
                                               07/14/23Page 10 11
                                                         Page  of 18
                                                                  of 19




            2012 (Q1)           $4,600            $116,100
            2012 (Q2)             -               $116,100
            2012 (Q3)             -               $116,100
            2012 (Q4)             -               $116,100
            2013 (Q1)             -               $116,100
            2013 (Q2)             -               $116,100
            2013 (Q3)             -               $116,100
            2013 (Q4)             -               $116,100
            2014 (Q1)             -               $116,100
            2014 (Q2)             -               $116,100
            2014 (Q3)             -               $116,100
            2014 (Q4)             -               $116,100
            2015 (Q1)             -               $116,100
            2015 (Q2)             -               $116,100
            2015 (Q3)             -               $116,100
            2015 (Q4)             -               $116,100
            2016 (Q1)             -               $116,100
            2016 (Q2)             -               $116,100
            2016 (Q3)             -               $116,100
            2016 (Q4)             -               $116,100
            2017 (Q1)             -               $116,100
            2017 (Q2)             -               $116,100
            2017 (Q3)             -               $116,100
            2017 (Q4)             -               $116,100
            2018 (Q1)           $3,700            $119,800
            2018 (Q2)             -               $119,800
            2018 (Q3)             -               $119,800

                                  10




                          PX-0593 - p. 10 of 18
      Case
    Case    1:13-mc-01288-RCL Document
         1:13-mc-01288-RCL     Document324-4
                                        230 Filed
                                             Filed10/18/22
                                                   07/14/23Page 11 12
                                                             Page  of 18
                                                                      of 19




                   2018 (Q4)                 -                  $119,800


       35.     Since September 2008, Freddie Mac has drawn on the Treasury Commitment in the

following quarterly amounts and cumulative amounts. Freddie Mac has not drawn on the Treasury

Commitment since 2018.

                                      Quarterly Draw        Cumulative Draws
                Year (Quarter)
                                    (in millions of USD)   (in millions of USD)
                   2008 (Q4)              $13,800                $13,800
                   2009 (Q1)              $30,800                $44,600
                   2009 (Q2)              $6,100                 $50,700
                   2009 (Q3)                 -                   $50,700
                   2009 (Q4)                 -                   $50,700
                   2010 (Q1)                 -                   $50,700

                   2010 (Q2)              $10,600                $61,300

                   2010 (Q3)               $1800                 $63,100
                   2010 (Q4)               $100                  $63,200
                   2011 (Q1)               $500                  $63,700
                   2011 (Q2)                 -                   $63,700
                   2011 (Q3)               $1500                 $65,200
                   2011 (Q4)               $6000                 $71,200
                   2012 (Q1)               $100                  $71,300
                   2012 (Q2)                 -                   $71,300
                   2012 (Q3)                 -                   $71,300
                   2012 (Q4)                 -                   $71,300
                   2013 (Q1)                 -                   $71,300
                   2013 (Q2)                 -                   $71,300
                   2013 (Q3)                 -                   $71,300

                                             11




                                  PX-0593 - p. 11 of 18
      Case
    Case    1:13-mc-01288-RCL Document
         1:13-mc-01288-RCL     Document324-4
                                        230 Filed
                                             Filed10/18/22
                                                   07/14/23Page 12 13
                                                             Page  of 18
                                                                      of 19




                    2013 (Q4)                  -                   $71,300
                    2014 (Q1)                  -                   $71,300
                    2014 (Q2)                  -                   $71,300
                    2014 (Q3)                  -                   $71,300
                    2014 (Q4)                  -                   $71,300
                    2015 (Q1)                  -                   $71,300
                    2015 (Q2)                  -                   $71,300
                    2015 (Q3)                  -                   $71,300
                    2015 (Q4)                  -                   $71,300
                    2016 (Q1)                  -                   $71,300
                    2016 (Q2)                  -                   $71,300
                    2016 (Q3)                  -                   $71,300
                    2016 (Q4)                  -                   $71,300
                    2017 (Q1)                  -                   $71,300
                    2017 (Q2)                  -                   $71,300
                    2017 (Q3)                  -                   $71,300
                    2017 (Q4)                  -                   $71,300
                    2018 (Q1)                $300                  $71,600
                    2018 (Q2)                  -                   $71,600
                    2018 (Q3)                  -                   $71,600
                    2018 (Q4)                  -                   $71,600


        36.    On August 17, 2012, Treasury and FHFA, acting as conservator of the Enterprises,

amended the PSPAs a third time (the “Third Amendment”).

        37.    The Third Amendment replaced the fixed 10% dividend with a quarterly variable

dividend equal to the positive net worth, if any, of Fannie Mae and Freddie Mac, exceeding a pre-


                                               12




                                    PX-0593 - p. 12 of 18
      Case
    Case    1:13-mc-01288-RCL Document
         1:13-mc-01288-RCL     Document324-4
                                        230 Filed
                                             Filed10/18/22
                                                   07/14/23Page 13 14
                                                             Page  of 18
                                                                      of 19



determined capital reserve. The capital reserve was originally set at $3 billion but would decline

by $600 million each year until reaching zero in 2018. The variable dividend is known as the “Net

Worth Sweep.”

        38.     The Net Worth Sweep became effective on January 1, 2013. The dividend paid by

the Enterprises for the fourth quarter of 2012 was based on the 10% dividend that applied before

the Net Worth Sweep, and the dividend paid for the first quarter of 2013 was based upon the Net

Worth Sweep formula.

        39.     In addition, the Third Amendment suspended the Enterprises’ obligations to pay

periodic commitment fees for so long as the Net Worth Sweep remained in effect.

        40.     On August 16, 2012, the value of Fannie Mae’s publicly traded Preferred Shares

was $1.459 billion. On August 17, 2012, the value of Fannie Mae’s publicly traded Preferred

Shares was $680 million, representing a decline in value of $779 million.

        41.     On August 16, 2012, the value of Freddie Mac’s common shares was $195 million,

and the value of Freddie Mac’s publicly traded Preferred Shares was $1.274 billion, for a combined

total value of $1.469 billion. On August 17, 2012, the value of Freddie Mac’s common shares was

$150 million, and the value of Freddie Mac’s publicly traded Preferred Shares was $488 million,

representing a decline in value of $46 million and $786 million, respectively, and a combined

decline in value of $831 million.

        42.     Pursuant to the terms of the PSPAs, as of January 1, 2013, the maximum amount

of remaining funding to Fannie Mae and Freddie Mae under the Treasury Commitment was $117.6

billion and $140.5 billion, respectively.

        43.     On December 21, 2017, Treasury and FHFA, acting as Conservator to the

Enterprises, entered into letter agreements that changed the terms of the Senior Preferred Stock



                                                13




                                      PX-0593 - p. 13 of 18
      Case
    Case    1:13-mc-01288-RCL Document
         1:13-mc-01288-RCL     Document324-4
                                        230 Filed
                                             Filed10/18/22
                                                   07/14/23Page 14 15
                                                             Page  of 18
                                                                      of 19



Certificates in each Enterprise, issued under the PSPAs (the “2017 Letter Agreements”), to permit

each Enterprise to retain a $3 billion capital reserve. The 2017 Letter Agreements also increased

Treasury’s liquidation preference with respect to each Enterprise by $3 billion ($6 billion total).

Under the 2017 Letter Agreements, each Enterprise paid a dividend to Treasury equal to the amount

its net worth at the end of each quarter exceeded $3 billion. Those terms applied to the December

31, 2017 dividend payment and the dividend payments for each quarter thereafter, until the

execution of the September 30, 2019 letter agreements.

        44.     On September 30, 2019, Treasury and FHFA, acting as Conservator to the

Enterprises, entered into letter agreements that changed the terms of the Senior Preferred Stock

Certificates in each Enterprise, issued under the PSPAs (the “2019 Letter Agreements”), to permit

each Enterprise to retain earnings beyond the $3 billion capital reserves previously allowed through

the 2017 Letter Agreements. The 2019 Letter Agreements also provided that the liquidation

preferences for Treasury’s Senior Preferred Stock would increase by the amount of capital the

Enterprises retained each quarter. Fannie Mae and Freddie Mac were permitted to maintain capital

reserves of $25 billion and $20 billion, respectively.

        45.     On January 14, 2021, Treasury and FHFA, acting as Conservator to the Enterprises,

entered into letter agreements that changed the terms of the Senior Preferred Stock Certificates in

each Enterprise, issued under the PSPAs (the “2021 Letter Agreements”). Among other things, the

2021 Letter Agreements suspended the cash dividend owed in order to permit each Enterprise to

retain earnings until it satisfied the requirements of the 2020 Enterprise capital rule, and provided

that the liquidation preference for each Enterprise would increase each quarter by the amount in

earnings each Enterprise was permitted to retain in lieu of the cash dividend.




                                                  14




                                      PX-0593 - p. 14 of 18
      Case
    Case    1:13-mc-01288-RCL Document
         1:13-mc-01288-RCL     Document324-4
                                        230 Filed
                                             Filed10/18/22
                                                   07/14/23Page 15 16
                                                             Page  of 18
                                                                      of 19



        46.      Since their entry into conservatorship, Fannie Mae and Freddie Mac paid quarterly

dividends to Treasury in the following amounts:

                                     Fannie Mae Dividends        Freddie Mac Dividends
              Year (Quarter)
                                      (in millions of USD)        (in millions of USD)
                2008 (Q4)                      $31                          $172
                2009 (Q1)                      $25                          $370
                2009 (Q2)                      $409                        $1,149
                2009 (Q3)                      $886                        $1,294
                2009 (Q4)                     $1,150                       $1,292
                2010 (Q1)                     $1,527                       $1,292

                2010 (Q2)                     $1,909                       $1,293

                2010 (Q3)                     $2,118                       $1,561
                2010 (Q4)                     $2,152                       $1,603
                2011 (Q1)                     $2,216                       $1,605
                2011 (Q2)                     $2,281                       $1,617
                2011 (Q3)                     $2,495                       $1,618
                2011 (Q4)                     $2,621                       $1,655
                2012 (Q1)                     $2,819                       $1,807
                2012 (Q2)                     $2,931                       $1,809
                2012 (Q3)                     $2,929                       $1,809
                2012 (Q4)                     $2,929                       $1,808
                2013 (Q1)                     $4,224                       $5,827
                2013 (Q2)                    $59,368                       $6,971
                2013 (Q3)                    $10,243                       $4,357
                2013 (Q4)                     $8,617                      $30,436
                2014 (Q1)                     $7,191                      $10,435
                2014 (Q2)                     $5,691                       $4,499


                                                  15




                                     PX-0593 - p. 15 of 18
  Case
Case    1:13-mc-01288-RCL Document
     1:13-mc-01288-RCL     Document324-4
                                    230 Filed
                                         Filed10/18/22
                                               07/14/23Page 16 17
                                                         Page  of 18
                                                                  of 19




        2014 (Q3)               $3,712                 $1,890
        2014 (Q4)               $4,000                 $2,786
        2015 (Q1)               $1,920                  $851
        2015 (Q2)               $1,796                  $746
        2015 (Q3)               $4,359                 $3,913
        2015 (Q4)               $2,203                   -
        2016 (Q1)               $2,859                 $1,740
        2016 (Q2)                $919                    -
        2016 (Q3)               $2,869                  $933
        2016 (Q4)               $2,977                 $2,310
        2017 (Q1)               $5,471                 $4,475
        2017 (Q2)               $2,779                 $2,234
        2017 (Q3)               $3,117                 $1,986
        2017 (Q4)                $648                  $2,250
        2018 (Q1)                 -                      -
        2018 (Q2)                $938                    -
        2018 (Q3)               $4,459                 $1,585
        2018 (Q4)               $3,975                 $2,560
        2019 (Q1)               $3,240                 $1,477
        2019 (Q2)               $2,361                 $1,665
        2019 (Q3)                 -                      -
        2019 (Q4)                 -                      -
        2020 (Q1)                 -                      -
        2020 (Q2)                 -                      -
        2020 (Q3)                 -                      -
        2020 (Q4)                 -                      -
        2021 (Q1)                 -                      -

                                  16




                         PX-0593 - p. 16 of 18
       Case
     Case    1:13-mc-01288-RCL Document
          1:13-mc-01288-RCL     Document324-4
                                         230 Filed
                                              Filed10/18/22
                                                    07/14/23Page 17 18
                                                              Page  of 18
                                                                       of 19




                 2021 (Q2)                          -                                 -
                 2021 (Q3)                          -                                 -
                 2021 (Q4)                          -                                 -
                 2022 (Q1)                          -                                 -
                 2022 (Q2)                          -                                 -
                Total Before
                                                 $31,428                        $23,754
               January 1, 2013
                 Total After
                                                 $149,936                       $95,926
               January 1, 2013
                    TOTAL                        $181,364                      $119,680


         47.        As of the end of the second quarter of 2022, the total amount by which Treasury’s

liquidation preference has been increased as a result of the 2017, 2019 and 2021 letter agreements

is $84.3 billion.

                                                            Respectfully submitted,

  /s/ Asim Varma                      .                 /s/ Hamish P.M. Hume                .
  Howard N. Cayne (D.C. Bar #331306)                    BOIES SCHILLER FLEXNER LLP
  Asim Varma (D.C. Bar #426364)                         Hamish P.M. Hume (D.C. Bar #449914)
  David B. Bergman (D.C. Bar #435392)                   Samuel Kaplan (D.C. Bar #463350)
  ARNOLD &PORTER KAYE SCHOLER                           1401 New York Ave. NW
  LLP                                                   Washington, DC 20005
  601 Massachusetts Ave NW                              Tel: (202) 237-2727
  Washington, DC 20001                                  Fax: (202) 237-6131
  Tel: (202) 942-5000                                   hhume@bsfllp.com
  Howard.Cayne@arnoldporter.com                         skaplan@bsfllp.com
  Asim.Varma@arnoldporter.com
  David.Bergman@arnoldporter.com                        KESSLER TOPAZ MELTZER & CHECK,
                                                        LLP
  Attorneys for Defendant Federal Housing               Eric L. Zagar (Pro Hac Vice)
  Finance Agency and Director Mark A.                   280 King of Prussia Rd.
  Calabria                                              Radnor, PA 19087
                                                        Tel: (610) 667-7706
  /s/ Michael J. Ciatti                      .          Fax: (610) 667-7056
  Michael J. Ciatti (D.C. Bar #467177)                  ezagar@ktmc.com
  KING &SPALDING LLP
  1700 Pennsylvania Ave. N.W.                           GRANT & EISENHOFER, P.A.
  Washington, DC 20006                                  Michael J. Barry (Pro Hac Vice)

                                                    17




                                        PX-0593 - p. 17 of 18
    Case
  Case    1:13-mc-01288-RCL Document
       1:13-mc-01288-RCL     Document324-4
                                      230 Filed
                                           Filed10/18/22
                                                 07/14/23Page 18 19
                                                           Page  of 18
                                                                    of 19



Tel: (202) 626-5508                           123 Justison Street
Fax: (202) 626-3737                           Wilmington, DE 19801
mciatti@kslaw.com                             Tel: (302) 622-7000
                                              Fax: (302) 622-7100
Attorney for the Federal Home Loan            mbarry@gelaw.com
Mortgage Corp.

/s/ Meaghan VerGow                .           BERNSTEIN LITOWITZ BERGER
Meaghan VerGow (D.C. Bar # 977165)              & GROSSMANN LLP
O’MELVENY &MYERS LLP                          Adam Wierzbowski (Pro Hac Vice)
1625 Eye Street, N.W.                         1251 Avenue of the Americas
Washington, DC 20006                          New York, NY 10020
Tel: (202) 383-5300                           Tel: (212) 554-1400
Fax: (202) 383-5414                           Fax: (212) 554-1444
mvergow@omm.com                               adam@blbglaw.com

Attorney for the Federal National Mortgage    Co-Lead Counsel for Plaintiffs
Association
                                              /s/ David Thompson                .
                                              Charles J. Cooper (Bar No. 24870)
                                              David Thompson (Bar No. 450503)
                                              COOPER & KIRK, PLLC
                                              1523 New Hampshire Avenue, N.W.
                                              Washington, D.C. 20036
                                              Telephone: 202.220.9600
                                              Facsimile: 202.220.9601
                                              ccooper@cooperkirk.com

                                              Counsel for Plaintiffs in No. 13-1053




                                             18




                                 PX-0593 - p. 18 of 18
